Case 1:01-cv-12257-PBS Document 3512-16 Filed 12/27/06 Page 1 of 3




                 EXHIBIT 13
       Case 1:01-cv-12257-PBS Document 3512-16 Filed 12/27/06 Page 2 of 3
                                                     U.S. Department of Justice

                                                     Civil Division, Fraud Section




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                                                         DEC 1 2 200~
Via Electronic Transmission

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        Re:     U.S. ex rel. Ven-a-Care of the Florida Keys Inc v. Abbott Laboratories, MDL No.
                1456/Civil Action No. 01-12257-PBS

Dear Counsel:

        We are writing to address Abbott’s notice of deposition of "one of more employees of the
Department of Health and Human Services ("HHS") who reviewed, approved, and/or were
consulted regarding the Brief of the United States as Amicus Curiae submitted by the Department
of Justice on behalf of the Secretary of HHS."

        The United States will invoke the work product doctrine in response to questions put to
HHS counsel or HHS employees working at the direction of counsel about its Amicus Curiae
brief. Attempts "to secure ... personal recollections prepared or formed by opposing counsel in
the course of his legal duties .... fall[] outside the arena of discovery and contravene[] the public
policy underlying the orderly prosecution and defense of legal claims." Hickman v. Taylor, 329
U.S. 495,509 (1947). Because the requested deposition seems to be designed to elicit nothing
but information protected by the work product doctrine or otherwise subject to the attorney-client
and deliberative-process privileges, we request that you withdraw the deposition notice.

       Depositions of opposing counsel are highly disfavored. See Bogosian v. Woloohojian
Realty Corp., 323 F.3d 55, 66-67 (1st Cir. 2003); Shelton v. American Motors Corp., 805 F.2d
1323, 1327 (8th Cirl 1987); Stavola v. Northeast Utilities, et al., 2006 WL 2850414, *2 (D.
Conn.) (Oct. 4, 2006) (granting protective order and awarding fees to party that sought it).
"Taking the deposition of opposing counsel not only disrupts the adversarial system and lowers
       Case 1:01-cv-12257-PBS Document 3512-16 Filed 12/27/06 Page 3 of 3




                                              -2-

the standards of the profession, but it also adds to the already burdensome time and costs of
litigation. It is not hard to imagine additional pretrial delays to resolve work-product and
attorney-client objections." Shelton, 805 F.2d at 1327. Indeed, "the mere request to depose an
opposing counsel constitutes ~good cause’ for obtaining a protective order, ~unless the party
seeking the deposition can show both the propriety and need for the deposition.’" Dunkin’
Donuts, Inc. v. Mandorico, Inc., 181 F.R.D. 208,210 (D.P.R. 1998) (collecting cases).
Appropriate factors to consider are whether: "(i) the subpoena was issued primarily for purposes
of harassment, (ii) there are other viable means to obtain the same evidence, and (iii) to what
extent the information sought is relevant, nonprivileged, and crucial to the moving party’s case."
Bogosian, 323 F.3d at 66.

         We think it unlikely that Abbott can meet this standard. The conduct of the United States
in preparing and submitting a brief specifically recluested by the court is not at issue in this
litigation; therefore, we do not understand how the information sought by this deposition is
reasonably calculated to lead to the discovery of admissible evidence, let alone "crucial" to the
case. Moreover, to the extent that Abbott seeks relevant, nonprivileged/nonprotected facts or
information concerning issues remaining in dispute in the case, there obviously are alternative
means available to Abbott for obtaining such information. Indeed, it appears that the notice
serves no purpose but to annoy, embarrass, oppress, and/or to create undue burden or expense to
HHS and the Department of Justice.

        We would appreciate it if you would advise us by tomorrow whether Abbott intends to
withdraw the deposition notice so that we may determine whether it will be necessary for us to
seek relief under Rule 26(c).~

                                           Very Truly Yours,




                                          Trial         y
                                     Commercial Litigation Branch


        AUSA George B. Henderson III
        Laurie A. Oberembt
        John K. Neal



         1 We believe, the AWP MDL proceeding contemplates that Dey participate in these
 depositions or waive its right to re-notice them. Accordingly, to the extent that Dey considered
 issuing a similarly objectionable deposition notice, we would appreciate hearing Dey’s views on
 the issues set forth in this letter.
